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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                           UNITED STATES DISTRICT COURT                               February 06, 2018
                            SOUTHERN DISTRICT OF TEXAS                                David J. Bradley, Clerk
                              CORPUS CHRISTI DIVISION

Ronnie W. Watkins, et al                      §
                                              §
v.                                            §            Civil Action No. C-18-00028
                                              §
Union Pacific Railroad Company                §

                         ORDER FOR RULE 16 CONFERENCE
                                      AND
                       DISCLOSURE OF INTERESTED PARTIES

1.    This case has been assigned to Senior U.S. District Judge Hayden Head.

2.    The Court requires plaintiff(s) to serve the complaint and this order and its attachments
      on defendant(s) promptly. Failure of plaintiff(s) to serve within 90 days after the filing
      of the complaint may result in dismissal of this action by the Court on its own initiative.

3.    Counsel for each party or Pro Se Party shall appear in court before Judge Head for an
      Initial Pretrial Conference on:

                                April 4, 2018 , at 10:40 a.m.,
                            at United States District Courthouse
                                1133 North Shoreline Blvd.
                                Corpus Christi, Texas 78401


4.    At the Initial Pretrial Conference, the Court and parties will establish a scheduling order.
      F. R. Civ. Proc. 16. A proposed scheduling order is attached with suggested dates.

5.    The parties are ordered to meet and prepare a Joint Report and Discovery Plan as
      required by F. R. Civ. Proc. 26 and the attached form. This Report and Plan must be filed
      no later than 14 days before the Initial Pretrial Conference.

6.    Pro Se Litigants are equally bound by the requirements imposed upon counsel in this
      Order.

7.    Counsel who file(s) or remove(s) an action must serve a copy of this Order for
      Conference and Disclosure of Interested Parties and its attachments with the summons
      and complaint or with the notice of removal.

8.    Attendance by an attorney who has authority to bind the party is required at the Initial
      Pretrial Conference.
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9.    Counsel shall discuss with their clients and each other whether alternative dispute
      resolution is appropriate and at the Pretrial Conference shall advise the Court of the
      results of their discussions.

10.   In order to promote electronic access to case files while also protecting personal privacy
      and other legitimate interests, all parties must comply with General Order 2003-4 of this
      Court by refraining from including, or redacting where inclusion is necessary, the
      following personal identifiers from all pleadings filed with the Court, including exhibits
      thereto, whether filed electronically or in paper form, unless otherwise ordered by the
      Court:

      a.     Social Security Numbers. If an individual’s social security number must be
             included in a pleading, only the last four digits of that number should be used.
      b.     Names of minor children. If the involvement of a minor must be mentioned, only
             the initials of that child should be used.
      c.     Dates of birth. If an individual’s date of birth must be included in a pleading,
             only the year should be used.
      d.     Financial account numbers. If financial account numbers are relevant, only the
             last four digits of these numbers should be used.

      General Order 2003-4 does not apply to social security and financial account numbers in
      Bankruptcy Court filings, and does not apply to any cases brought pursuant to Section
      205(g) of the Social Security Act, 42 U.S.C. § 405(g).

11.   Counsel for each party shall file with the clerk within fifteen (15) days of the receipt of
      this Order by the Court, a certificate listing all persons, associations of persons, firms,
      partnerships, corporations, affiliates, parent corporations, or other entities that are
      financially interested in the outcome of this litigation. If a group can be specified by a
      general description, individual listing is not necessary. Underline the name of each
      corporation whose securities are publicly traded. If new parties are added or if additional
      persons or entities that are financially interested in the outcome of the litigation are
      identified at any time during the pendency of this litigation, then each counsel shall
      promptly file an amended certificate with the clerk.

                                                                  By Order of the Court




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                               Instructions for Preparation of the
            Joint Report of the Meeting and Joint Discovery/Case Management Plan
                           Under Federal Rule of Civil Procedure 26

FED. R. CIV. P. 26 is applicable in this district and division. This Rule provides for required
disclosures and discovery planning. The parties are ordered to familiarize themselves with Rule
26 and to prepare a report of their meeting and a case management plan as required by the Rule.

Please restate the following instructions when providing the requested information.

1.     State when the Rule 26 Conference of the parties was held and identify the counsel who
       attended for each party.

2.     List any cases related to the present action that are pending in any state or federal court,
       with the style, case number, court, and a brief description of the case.

3.     Briefly describe the pertinent facts and legal theories upon which the present action is
       based.

4.     Specify the allegation of federal jurisdiction. Indicate whether the parties agree or
       disagree to the allegation. If the parties disagree, indicate the nature of the disagreement.

5.     List any additional parties that may be included, when they can be added, and which
       party desires to bring them into the litigation. In diversity jurisdiction cases, this item is
       intended to trigger the disclosure requirement of TEX. CIV. PRAC. & REM. CODE §
       33.004(d) (effective September 1, 2011) and TEX. R. CIV. P. 194.2(b).

6.     List any anticipated interventions.

7.     If this is a class action, describe any issues regarding certification of the class.

8.     State whether each party represents that it has made the initial disclosures required by
       Rule 26(a). If not, describe the arrangements that have been made to complete the
       disclosures.

9.     Describe the proposed discovery plan the parties have agreed upon, including:

       A.       Responses to all the matters raised in Rule 26(f).

       B.       When and to whom Plaintiff(s) anticipate(s) sending interrogatories.

       C.       When and to whom Defendant(s) anticipate(s) sending interrogatories.

       D.       When and from whom Plaintiff(s) anticipate(s) taking oral depositions.


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      E.     When and from whom Defendant(s) anticipate(s) taking oral depositions.

      F.     When Plaintiff(s) (or the party with the burden of proof on an issue) will be
             able to designate experts and provide the reports required by Rule 26(a)(2)(B),
             and when the opposing party will be able to designate responsive experts and
             provide their reports.

      G.     List expert depositions Plaintiff(s) (or the party or parties with the burden of proof
             on an issue) anticipate(s) taking and their anticipated completion date.

      H.     List expert depositions the opposing party or parties anticipate(s) taking and their
             anticipated completion date.

10.   If the parties do not agree on a part of the discovery plan, describe the separate views and
      proposals of each party.

11.   Specify the discovery, beyond initial disclosures, that has been undertaken to date.

12.   State the date the planned discovery can reasonably be completed.

13.   Describe the possibilities for a prompt settlement or resolution of the case that were
      discussed in the Rule 26 Conference, including the suitability of this case for mediation
      or other alternative dispute resolution. Include the anticipated date for the provision of a
      settlement demand by any party seeking affirmative relief.

14.   If all parties consent, a Federal Magistrate Judge may hear both jury and non-jury trials.
      Indicate whether or not all parties consent to a trial before a Magistrate Judge. (YES/NO)

15.   State whether a jury demand has been made, and if so, whether it was made on time.

16.   Specify the combined total number of hours it will take both parties to present the
      evidence in this case.

17.   List pending motions that could be ruled on at the Initial Pretrial Conference.

18.   List other pending motions.

19.   Indicate other matters peculiar to this case—including discovery—that deserve the
      special attention of the Court at the Initial Pretrial Conference.

20.   Certify that all parties have filed Certificates of Interested Parties—as directed in the
      Order of Conference and Disclosure of Interested Parties—listing the date of filing for
      the originals and any amendments to the Certificates.
21.   List the names, bar numbers, addresses, telephone numbers, facsimile numbers, and
      electronic mail addresses of all counsel and pro se parties.

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By each of our signatures below, Counsel represent that each understands that the Court will
rely on these representations in entering its Scheduling Order.



Counsel for Plaintiff(s)                  Date




Counsel for Defendant(s)                  Date




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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

Ronnie W. Watkins, et al                       §
                                               §
v.                                             §            Civil Action No. C-18-00028
                                               §
Union Pacific Railroad Company                 §

                                   SCHEDULING ORDER

1.    JURY SELECTION/TRIAL is set for February 4, 2019 at 8:30 a.m.
2.    The deadline for JOINDER OF PARTIES AND AMENDMENT OF PLEADING
      is May 2, 2018. This provision does not relieve the parties from the requirement of
      obtaining leave to file the pleading or add parties whenever required by the Federal
      Rules of Civil Procedure.
3.    DESIGNATION OF EXPERTS BY PLAINTIFFS is not later than June 1, 2018.
      DESIGNATION OF EXPERTS BY DEFENDANTS is not later than July 2, 2018.
      Written reports by experts under FED. R. CIV. P. 26 shall be filed with designations.
4.    DISCOVERY ends on October 29, 2018.
5.    The deadline for filing all DISPOSITIVE AND DAUBERT MOTIONS is on July 31,
      2018. Briefs are limited to twenty (20) pages exclusive of exhibits. If deposition
      testimony is attached as an exhibit, it shall be submitted in the condensed form, i.e., four
      pages to one page.
6.    The original and one copy of the parties’ JOINT PRETRIAL ORDER shall be filed no
      later than January 7, 2019. Plaintiff(s) will be responsible for the filing of a Joint
      Pretrial Order, signed by the attorney trying the case. Use the form set out in Appendix B
      of the Local Rules of the Southern District of Texas. Plaintiff(s) shall allow all parties at
      least fifteen (15) business days for review and contribution.
7.    FINAL PRETRIAL CONFERENCE is set for January 17, 2019 at 10:00 a.m. The
      attorney trying the case for each party is required to be present.
8.    The dates are proposed. With good cause, the parties may revise the dates subject to
      approval by the Court.

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ORDERED this           day of                         2018.




                                     ____________________________________
                                     HAYDEN W. HEAD, JR.
                                     SR. UNITED STATES DISTRICT JUDGE




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